 Case 3:21-cv-00237-H-BGS Document 1-4 Filed 02/08/21 PageID.41 Page 1 of 3



 1 GREENBERG TRAURIG, LLP

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 6
     Attorneys for Defendant,
 7 CIRCLE K STORES, INC.

 8

 9                            UNITED STATES DISTRICT COURT
10                         SOUTHERN DISTRICT OF CALIFORNIA
11

12 WILLIAM D. PETTERSEN,                        Case No. '21CV0237 H   BGS

13
     individually and on behalf of all others   DECLARATION OF TYLER R.
     similarly situated,                        ANDREWS IN SUPPORT OF
14                                              DEFENDANT CIRCLE K
                     Plaintiff,                 STORES, INC.’S NOTICE OF
15                                              REMOVAL
16
     v.                                         Complaint filed: December 4, 2020
17 CIRCLE K STORES, INC., an Arizona
     Corporation, and DOES 1-10,
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19                   Defendant.
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          DECLARATION OF TYLER R. ANDREWS IN SUPPORT OF REMOVAL
     ACTIVE 55136796v2
 Case 3:21-cv-00237-H-BGS Document 1-4 Filed 02/08/21 PageID.42 Page 2 of 3



 1           I, Tyler R. Andrews, declare:
 2           1.    I am an attorney at Greenberg Traurig, LLP, counsel for Defendant
 3 CIRCLE K STORES, INC. (“Defendant”). I have personal knowledge of the matters

 4 stated in this declaration.

 5           2.    On January 7, 2021, I corresponded with Mr. Steve Morris, counsel for
 6 Plaintiff, and informed him that his initial service of the complaint at issue was

 7 attempted at an invalid Circle K address (rather than at Circle K’s Tempe, Arizona

 8 headquarters) and was not provided to Circle K’s registered agent. I nonetheless

 9 agreed to accept service of the complaint on behalf of Circle K if service could be

10 deemed completed as of that day, January 7, with a corresponding response and

11 removal deadline of Monday, February 8, 2021. Mr. Morris agreed to my proposal

12 by reply email that same day.

13           3.    On January 12, 2021, I had a telephone conversation with Mr. Morris
14 wherein I stated that Circle K would likely remove the action to the United States

15 District Court for the Southern District of California under the Class Action Fairness

16 Act (CAFA). Mr. Morris consented to and agreed not to oppose such removal, and

17 confirmed his agreement on removal in an email dated January 21, 2021.

18           4.    Attached hereto as Exhibit A are true and correct copies of all pleadings,
19 process, and orders served on, or obtained by, Defendant in the State Court action

20 entitled Pettersen v. Circle K Stores, Inc., San Diego County Superior Court Case

21 Number 37-2020-00044765-CU-BT-CTL.

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          DECLARATION OF TYLER R. ANDREWS IN SUPPORT OF REMOVAL
     ACTIVE 55136796v2
 Case 3:21-cv-00237-H-BGS Document 1-4 Filed 02/08/21 PageID.43 Page 3 of 3



 1           3.      Attached hereto as Exhibit B is a true and correct copy of the
 2 Declaration of Jeff Lohnes, Circle K’s Global Head of Age Restricted Products,

 3 demonstrating that the amount in controversy requirement under CAFA is satisfied.

 4           I declare under penalty of perjury that the foregoing is true and correct.
 5 Executed this 8th day of February, 2021, in Irvine, California.

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 7                                                /s/   Tyler R. Andrews
                                                  Tyler R. Andrews
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          DECLARATION OF TYLER R. ANDREWS IN SUPPORT OF REMOVAL
     ACTIVE 55136796v2
